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  Fill in this information to identify the case:

  Debtor 1: Mario Godefoy
  Debtor 2: Giselda Duran Martinez aka Giselda Duran aka Giselda Duran-Martinez aka Giselda Godefoy

  United States Bankruptcy Court for the: Southern District of Florida (Miami)

  Case number: 17-21240-LMI

  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                           12/15
  If the debtor’s plan provides for payment and postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

  Name of creditor:      Select Portfolio Servicing, Inc.                        Court claim no.: 4-1

 Last four digits of any number                                                  Date of payment change:
 you use to identify the debtor’s         5203                                   Must be at least 21 days after date of
                                                                                                                                 06/01/2020
 account:                                                                        this notice


                                                                                 New total payment:                            $1,321.89
                                                                                 Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?
    ☐ No
    ☑ Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
               basis for the change. If a statement is not attached, explain why:

             Current escrow payment:      $ 627.11                        New escrow payment:        $ 575.33


  Part 2: Mortgage Payment Adjustment
    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?

    ☑ No
    ☐ Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

              Current interest rate:                                    %        New interest rate:                             %

              Current principal and interest payment: $                        New principal and interest payment: $

  Part 3: Other Payment Change
    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

    ☑ No
    ☐ Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment: $                                         New mortgage payment: $




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        Debtor 1: Mario Godefoy                                           Case number: 17-21240-LMI
        Debtor 2: Giselda Duran Martinez aka Giselda Duran aka Giselda Duran-Martinez aka Giselda Godefoy
Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

        I am the creditor.          X       I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
reasonable belief.


        /s/ Scott C. Lewis, Esq.                                                                  Date    05/06/2020
        Signature

                         Scott                   C.                Lewis
Print                    First Name              Middle Name       Last Name                      Title Attorney For Secured Creditor


Company                 Albertelli Law

Address                 P.O. Box 23028
                        Number        Street

                        Tampa                    FL                  33623
                        City                     State                Zip Code

Contact Phone: 813-221-4743              Email: bkfl@albertellilaw.com




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served
upon the following parties of interest either via pre-paid regular US Mail or via electronic
notification to the parties on the attached service list, this 6th day of May, 2020.



SERVICE LIST

Mario Godefoy
15616 SW 62 Terrace
Miami, FL 33193-2582

Giselda Duran Martinez
15616 SW 62 Terrace
Miami, FL 33193-2582

Robert Sanchez, Esq
355 W 49 St.
Hialeah, FL 33012

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                               /s/ Scott C. Lewis, Esq.
                                                               Scott C. Lewis, Esq.
                                                               FBN 112064
                                                               813-221-4743 ext. 2603

                                                               Albertelli Law
                                                               Attorney for Secured Creditor
                                                               PO Box 23028
                                                               Tampa, FL 33623
                                                               Facsimile: (813) 221-9171
                                                               bkfl@albertellilaw.com




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            B. Escrow Reserve Requirements – RESPA/Federal law allows lenders to maintain a maximum of two months
               reserve in your escrow account, commonly referred to as a cushion. However, based on state, investor, or
               modification requirements your cushion requirement may be less than the Federal requirement. Your account has
               a monthly reserve requirement of 0 months.

            C. Escrow Surplus – The actual beginning balance on your account in Tables 3 and 4 is $1,699.49. According to
               the projections shown in Tables 3 and 4, your required beginning balance should be $1,103.96.

                This means you have a surplus of $595.53. If your account meets minimum criteria defined below, we will send a
                refund check for this surplus under separate cover for the full or partial refund¹.

                Please be advised that this is not an attempt to collect any pre-petition debt, which we have previously claimed on
                the Proof of Claim.

                Your unpaid pre-petition escrow amount is $0.00. This amount has been removed from the projected starting
                balance.

                Your total refund is $595.53, which is determined by subtracting your required beginning escrow account balance
                from your actual beginning escrow account balance. $1,699.49 - $1,103.96 = $595.53.

Table 3 below shows a detailed history of your escrow account transactions since your last analysis. An asterisk (*) indicates a
difference from a previous estimate in either the date or the amount. The letter E beside an amount indicates that the payment or
disbursement has not yet occurred but is estimated to occur as shown prior to the effective date of this new analysis. Please
note, if the payment or disbursement month shown in table 3 is the same month of this completed analysis and there is an
asterisk (*) or the letter E next to the amount, the disbursement or amount may have already occurred by the time you receive this
analysis statement and the actual amount may differ from the amount reflected below.

Table 3
                                                            Payments                  Disbursements
Month                    Description            Estimate            Actual      Estimate         Actual    Total Balance
History                  Beginning Balance                                                                          $0.00
October 2019                                         0.00         -4,248.69 *         0.00        0.00          -4,248.69
November 2019            COUNTY TAX                  0.00          3,860.00 *         0.00    2,207.90 *        -2,596.59
December 2019            HAZARD INS                  0.00              0.00           0.00    1,174.02 *        -3,770.61
January 2020             HAZARD INS                  0.00              0.00           0.00      391.34 *        -4,161.95
February 2020            HAZARD INS                  0.00          5,941.44 *         0.00      391.34 *         1,388.15
March 2020               HAZARD INS                  0.00           495.12 E          0.00     391.34 E          1,491.93
April 2020               HAZARD INS                  0.00           495.12 E          0.00     391.34 E          1,595.71
May 2020                 HAZARD INS                  0.00           495.12 E          0.00     391.34 E          1,699.49




                                                            See reverse side
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                    See reverse side
